Case 16-04078-jw         Doc 39     Filed 08/17/18 Entered 08/17/18 09:56:52          Desc Main
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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA
                                 CHARLESTON DIVISION

IN RE:                                          )     CASE NO.: 16-04078-JW
                                                )     CHAPTER 13
JOYCE CAMPBELL WHITE                            )
FKA JOYCE CAMPBELL WALKER-WHITE,                )
                                                      CERTIFICATION OF FACTS
FKA JOYCE CAMPBELL WALKER,                      )
FKA JOYCE CAMPBELL,                             )
FKA JOYCE C. WHITE,                             )
                                                )
DEBTOR


       In the above-entitled proceeding, in which relief is sought by NYMT Loan Trust 2014-
RP1 , from the automatic stay provided by 11 U.S.C. Section 362, I hereby certify to the best of
my knowledge the following:

   1. Nature of Movant’s Interest:

         Movant is the current holder of the Mortgage.

   2. Brief Description of Security Interests, copy attached if applicable:

         True and correct copies of the Note and Mortgage are attached hereto as Exhibit(s) A and
         B, respectively, and incorporated herein by reference. A true and correct copy of the
         Assignment(s) of Mortgage/Deed of Trust with respect to the Note and Mortgage is/are
         attached hereto as Exhibit C, and incorporated herein by reference.


   3. Description of Property Encumbered by Stay (include serial number, lot and block
      number, etc.).


         1463 Orangeburg Road, Summerville, SC 29483

   4. Basis for Relief (for cause, property not necessary for reorganization, debtor has no equity,
      property not property of estate, etc.) include applicable subsection of 11 U.S.C. § 362):


         §362(d)(1) account is in delinquent status



   5. Prior Adjudication by Other Court, copy attached (Decree of Foreclosure, Order for
      Possession, Levy of Execution, etc., if applicable):

         None
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  6. Valuation of Property, copy of Valuation attached (Appraisal, Blue Book, etc.):


     Fair Market Value: $150,000.00

     Senior Liens: ______________________

     Movant's Liens: $114,201.45

     Other Liens: ______________________
     (Listed in order of priority)

     Net Equity: $35,798.55

     Source/Basis of Value: Debtor’s Schedule A



  7. Amount of Debtor’s Estimated Equity (using figures from paragraph 6, supra):


     $35,798.55



  8. Month and Year in Which First Direct Post-Petition Payment Came Due to Movant (if
     applicable):


     04/01/2017



  9. (a)   For Movant/Lienholder (if applicable): List or attach a list of all post-petition
     payments received directly from debtor(s), clearly showing date received, amount, and
     month and year for which each such payment was applied.


     See attached Post-Petition Payment History Exhibit “D”.



     (b)     For Objecting Party (if applicable): List or attach a list of all post-petition
     payments included in the Movant's list from (a) above which objecting party disputes as
     having been made. Attach written proof of such payment(s) or a statement as to why such
     proof is not available at the time of filing this objection.
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   10. Month and Year for Which Post-petition Account of Debtor(s) is Due as of the Date of
       this Motion.

      10/01/2017

                                             STERN & EISENBERG SOUTHERN, P.C.

                                             /s/ Elizabeth R. Polk
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                                             Attorney for Movant
Dated: August 17, 2018
